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                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS


IN RE BROILER CHICKEN ANTITRUST                        Main Case No.: 1:16-cv-08637
LITIGATION


THIS DOCUMENT RELATES TO:                              STIPULATED ORDER OF
                                                       DISMISSAL WITH PREJUDICE
Winn-Dixie Stores, Inc. et al. v. Koch Foods,
Inc. et al., Case No. 1:18-cv-00245




       The parties in the above-captioned actions, through their counsel, stipulate to the

following and respectfully request this Court’s approval of their stipulation:

       1.      This Stipulation is between Direct Action Plaintiffs Winn-Dixie Stores, Inc. and

Bi-Lo Holdings, LLC, and all of their respective predecessors, successors, assigns,

affiliates, and any and all past, present, and future parents, owners, subsidiaries,

divisions, and departments (the “Winn-Dixe/Bi-Lo DAPs”), on the one hand, and Defendants

Tyson Foods, Inc., Tyson Chicken, Inc., Tyson Breeders, Inc., Tyson Poultry, Inc., and Tyson Sales

And Distribution, Inc., and all of their predecessors, successors, assigns, and affiliates (collectively

“Tyson” or “Tyson Defendants”), on the other.

       2.      This Stipulation relates to Winn-Dixie Stores, Inc. et al. v. Koch Foods, Inc. et

al., Case No. 1:18-cv-00245 (the “Actions”).

       3.      In accordance with Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the

Winn-Dixe/Bi-Lo DAPs and Tyson stipulate and agree to the dismissal, with prejudice, of the

Winn-Dixe/Bi-Lo DAPs’ claims against Tyson in the above-referenced Actions, with all parties

bearing their own attorneys’ fees and costs.        The parties also respectfully request that any

documents filed under seal remain under seal.
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         4.     This Stipulation has no bearing on the Winn-Dixe/Bi-Lo DAPs' claims in the Actions

against Defendants other than Tyson.



By:                                                         September 6, 2023
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      I nc. and Bi-Lo Holdings, LLC



By: _/s/ Rachel J. Adcox___________________
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      Counsel for the Tyson Defendants




SO ORDERED:                                                         September __, 2023
                     United States District Judge




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